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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                         SAN JOSE DIVISION

                                  11
                                        LARRY J. LICHTENEGGER,
                                  12                                                       Case No. 5:14-cv-00100 HRL
Northern District of California
 United States District Court




                                  13                   Plaintiff,                          ORDER TO SHOW CAUSE RE
                                                                                           SANCTIONS
                                  14            v.

                                  15
                                        JAMES CRIVELLO; JOHN CRIVELLO;
                                  16    and THE COUNTY OF MONTEREY,
                                  17                   Defendants.

                                  18          On May 13, 2014, this court issued a scheduling order setting a January 13, 2015, 1:30
                                  19   p.m. final pretrial conference. (Dkt. 21). In that order, the parties were directed to comply with
                                  20   this court’s Standing Order re Pretrial Preparation. Pursuant to the Standing Order, the parties
                                  21   were required to make certain pretrial submissions by December 30, 2014 and certain subsequent
                                  22   submissions by January 6, 2015. Nothing was filed on December 30. It was not until late in the
                                  23   day on January 5, 2015 that the parties began to submit papers that should have been filed or
                                  24   lodged a week earlier. Moreover, the parties’ January 5 submissions are incomplete.
                                  25          Accordingly, lead counsel for each side shall appear and be prepared to show cause at the
                                  26   January 13, 2015 final pretrial conference why they should not be sanctioned for their failure to
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                                   1   comply with this court’s orders.

                                   2          SO ORDERED.

                                   3   Dated: January 6, 2015

                                   4                                      ______________________________________
                                                                          HOWARD R. LLOYD
                                   5                                      UNITED STATES MAGISTRATE JUDGE
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Northern District of California
 United States District Court




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                                   1   5:14-cv-00100-HRL Notice has been electronically mailed to:
                                   2
                                       Gerard A. Rose   gerard@gerardroselaw.com
                                   3
                                       Michael Rudolph Philippi PhilippiMR@co.monterey.ca.us, moores@co.monterey.ca.us,
                                   4   zinmanK@co.monterey.ca.us
                                   5   Susan K. Blitch blitchsk@co.monterey.ca.us, mcmillincb@co.monterey.ca.us,
                                   6   moores@co.monterey.ca.us, zinmank@co.monterey.ca.us

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Northern District of California
 United States District Court




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